Case 3:24-cv-00122-DCJ-CES-RRS Document 52 Filed 02/20/24 Page 1 of 3 PageID #: 678




                       IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF LOUISIANA, MONROE DIVISION

    PHILLIP CALLAIS, LLOYD PRICE,
    BRUCE ODELL, ELIZABETH ERSOFF,
    ALBERT CAISSIE, DANIEL WEIR,
    JOYCE LACOUR, CANDY CARROLL
    PEAVY, TANYA WHITNEY, MIKE
    JOHNSON, GROVER JOSEPH REES,
    ROLFE MCCOLLISTER,                                   Civil Action No. 3:24-cv-00122

                               Plaintiffs,               Judge David C. Joseph

                              v.                         Circuit Judge Carl E. Stewart

    NANCY LANDRY, in her official capacity               Judge Robert R. Summerhays
    as Secretary of State for Louisiana,

                               Defendant.




                                   MOTION TO APPEAR PRO HAC VICE

             In accordance with the local rules for the United States District Court, Western District of

   Louisiana, an application is made to be admitted pro hac vice to the bar of this court for the

   purpose of appearing on behalf of the proposed Intervenor-Defendants in the above-described

   action.

      •      I am ineligible to become a member of this court, but I am a member in good standing of

             the bar of New York State. Attached hereto is a certificate of good standing from such

             court.

      •      Payment of the applicable fee of $105.00 is made via the court’s electronic filing system

             using Pay.gov.

      •      There have been no disciplinary proceedings or criminal charges instituted against me.
Case 3:24-cv-00122-DCJ-CES-RRS Document 52 Filed 02/20/24 Page 2 of 3 PageID #: 679




      •   In accordance with the local rules for the United States District Court, Western District of

          Louisiana, John Adcock of the firm of Adcock Law LLC is appointed as local counsel.

      •   I authorize the Clerk of Court for the Western District of Louisiana to transmit notice of

          entries of judgments and orders to me under Fed.R.Civ.P. 77, Fed.R.Cr.P. 49, LR 5.7.10.

          I also agree to receive notice electronically from other parties and the court via electronic

          mail. I understand that electronic mail filter software (SPAM filer) may interfere with

          receipt of e-mail notices and have verified that any such software installed on my

          computer or network will not filter our messages sent from Clerk@lawd.uscourts.gov. I

          understand this electronic notice will be in lieu of notice by any other means. I

          understand it is my responsibility to advise the Clerk’s Office promptly in writing of any

          physical address changes and/or update my electronic mail address within the court’s

          electronic filing system.

   Respectfully submitted,

   DATED: February 20, 2024                     Respectfully submitted,

   By: /s/ Victoria Wenger                       By: /s/ John Adcock
   Victoria Wenger                               John Adcock
   NY Bar No. 5803390                            Adcock Law LLC
   NAACP Legal Defense                           3110 Canal Street
   & Educational Fund, Inc.                      New Orleans, LA 70119
   40 Rector St., 5th FL                         Tel: (504) 233-3125
   New York, NY, 10006                           jnadcock@gmail.com
   Tel: (212)965-2200
   vwenger@naacpldf.org

   Applying Attorney                             Local Counsel for Proposed Intervenor-Defendants
Case 3:24-cv-00122-DCJ-CES-RRS Document 52 Filed 02/20/24 Page 3 of 3 PageID #: 680




                                     CERTIFICATE OF SERVICE


          I hereby certify that on February 20, 2024, I presented the foregoing Petition for

   Admission Pro Hac Vice to the Clerk of Court for filing and uploading to the CM/ECF system

   which will send notification of such filing to all parties.

                                                          Respectfully Submitted,
                                                          /s/ John Adcock
                                                          John Adcock
                                                          Adcock Law LLC
                                                          3110 Canal Street
                                                          New Orleans, LA 70119
                                                          Tel: (504) 233-3125
                                                          jnadcock@gmail.com
